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                                           NOTE CHANGES MADE BY THE COURT
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                            UNITED STATES DISTRICT COURT
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                          CENTRAL DISTRICT OF CALIFORNIA
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                                       Eastern Division
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15     SECURITIES AND EXCHANGE                      Case No. 5:20-cv-01493-MCS-SHK
       COMMISSION,
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                    Plaintiff,                      AMENDED [PROPOSED] FINAL
17                                                  JUDGMENT AS TO DEFENDANT
18           vs.                                    MARK W. HECKELE

19     ANTHONY TODD JOHSON, et al.,
20                  Defendants.
21
22         For the reasons set forth in the Court’s January 26, 2022 order granting in part
23   and denying in part summary judgment (ECF No. 83) and the Court’s findings of fact
24   and conclusions of law:
25                                           I.
26         IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that Defendant
27   Mark W. Heckele (“Heckele”) violated and is permanently restrained and enjoined
28   from violating, directly or indirectly, Section 10(b) of the Securities Exchange Act of

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 1   1934 (the “Exchange Act”) [15 U.S.C. § 78j(b)] and Rule 10b-5 promulgated
 2   thereunder [17 C.F.R. § 240.10b-5], by using any means or instrumentality of
 3   interstate commerce, or of the mails, or of any facility of any national securities
 4   exchange, in connection with the purchase or sale of any security:
 5         (a)    to employ any device, scheme, or artifice to defraud;
 6         (b)    to make any untrue statement of a material fact or to omit to state a
 7                material fact necessary in order to make the statements made, in the light
 8                of the circumstances under which they were made, not misleading; or
 9         (c)    to engage in any act, practice, or course of business which operates or
10                would operate as a fraud or deceit upon any person.
11         IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as
12   provided in Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also
13   binds the following who receive actual notice of this Judgment by personal service or
14   otherwise: (a) Heckele’s officers, agents, servants, employees, and attorneys; and
15   (b) other persons in active concert or participation with Heckele or with anyone
16   described in (a).
17                                            II.
18         IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED that
19   Heckele is permanently restrained and enjoined from violating Section 17(a) of the
20   Securities Act of 1933 (the “Securities Act”) [15 U.S.C. § 77q(a)] in the offer or sale
21   of any security by the use of any means or instruments of transportation or
22   communication in interstate commerce or by use of the mails, directly or indirectly:
23         (a)    to employ any device, scheme, or artifice to defraud;
24         (b)    to obtain money or property by means of any untrue statement of a
25                material fact or any omission of a material fact necessary in order to
26                make the statements made, in light of the circumstances under which
27                they were made, not misleading; or
28         (c)    to engage in any transaction, practice, or course of business which

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 1                operates or would operate as a fraud or deceit upon the purchaser.
 2         IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as
 3   provided in Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also
 4   binds the following who receive actual notice of this Judgment by personal service or
 5   otherwise: (a) Heckele’s officers, agents, servants, employees, and attorneys; and
 6   (b) other persons in active concert or participation with Heckele or with anyone
 7   described in (a).
 8                                             III.
 9         IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED that
10   Heckele violated and is permanently restrained and enjoined from violating Section 5
11   of the Securities Act [15 U.S.C. § 77e] by, directly or indirectly, in the absence of any
12   applicable exemption:
13         (a)    Unless a registration statement is in effect as to a security, making use of
14                any means or instruments of transportation or communication in
15                interstate commerce or of the mails to sell such security through the use
16                or medium of any prospectus or otherwise;
17         (b)    Unless a registration statement is in effect as to a security, carrying or
18                causing to be carried through the mails or in interstate commerce, by any
19                means or instruments of transportation, any such security for the purpose
20                of sale or for delivery after sale; or
21         (c)    Making use of any means or instruments of transportation or
22                communication in interstate commerce or of the mails to offer to sell or
23                offer to buy through the use or medium of any prospectus or otherwise
24                any security, unless a registration statement has been filed with the
25                Commission as to such security, or while the registration statement is the
26                subject of a refusal order or stop order or (prior to the effective date of
27                the registration statement) any public proceeding or examination under
28                Section 8 of the Securities Act [15 U.S.C. § 77h].

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 1         IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as
 2   provided in Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also
 3   binds the following who receive actual notice of this Judgment by personal service or
 4   otherwise: (a) Heckele’s officers, agents, servants, employees, and attorneys; and
 5   (b) other persons in active concert or participation with Heckele or with anyone
 6   described in (a).
 7                                            IV.
 8         IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED that
 9   Heckele violated and is permanently restrained and enjoined from violating, directly
10   or indirectly, Section 15(a) of the Exchange Act, 15 U.S.C. § 78o(a), which makes it
11   unlawful for any broker or dealer which is either a person other than a natural person
12   or a natural person, to make use of the mails or any means or instrumentality of
13   interstate commerce to effect any transactions in, or to induce or attempt to induce the
14   purchase or sale of, any security (other than an exempted security or commercial
15   paper, bankers’ acceptances, or commercial bills) unless such broker or dealer is
16   registered in accordance with Section 15(b) of the Exchange Act, 15 U.S.C. § 78o(b).
17         IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as
18   provided in Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also
19   binds the following who receive actual notice of this Judgment by personal service or
20   otherwise: (a) Heckele’s officers, agents, servants, employees, and attorneys; and
21   (b) other persons in active concert or participation with Heckele or with anyone
22   described in (a).
23                                            V.
24         IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED that
25   Heckele shall pay disgorgement in the amount of $268,237.50 together with
26   prejudgment interest in the amount of $42,595.22, for a total of $310,832.72, all of
27   which represents net profits gained as a result of the conduct alleged in the
28   Complaint, which the Court finds is for the benefit of investors. The Court further

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 1   imposes a civil penalty against Heckele in the amount of $195,047.00 $207,183.00
 2   pursuant to Section 20(d) of the Securities Act [15 U.S.C. § 77t(d)] and Section 21(d)
 3   of the Exchange Act [15 U.S.C. § 78u(d)(3)]. Heckele shall satisfy these obligations
 4   by paying for aforementioned sums to the Securities and Exchange Commission with
 5   30 days after entry of this Final Judgment.
 6         Heckele may transmit payment electronically to the Commission, which will
 7   provide detailed ACH transfer/Fedwire instructions upon request. Payment may also
 8   be made directly from a bank account via Pay.gov through the SEC website at
 9   http://www.sec.gov/about/offices/ofm.htm. Heckele may also pay by certified check,
10   bank cashier’s check, or United States postal money order payable to the Securities
11   and Exchange Commission, which shall be delivered or mailed to
12         Enterprise Services Center
13         Accounts Receivable Branch
14         6500 South MacArthur Boulevard
15         Oklahoma City, OK 73169
16   and shall be accompanied by a letter identifying the case title, civil action number,
17   and name of this Court; Mark W. Heckele as a defendant in this action; and
18   specifying that payment is made pursuant to this Final Judgment.
19         Heckele shall simultaneously transmit photocopies of evidence of payment and
20   case identifying information to the Commission’s counsel in this action. By making
21   this payment, Heckele relinquish all legal and equitable right, title, and interest in
22   such funds, and no part of the funds shall be returned to Heckele.
23         The Commission may enforce the Court’s judgment for disgorgement and
24   prejudgment interest by using all collection procedures authorized by law, including,
25   but not limited to, moving for civil contempt at any time after 30 days following entry
26   of this Final Judgment. The Commission may enforce the Court’s judgment for
27   penalties by the use of all collection procedures authorized by law, including the
28   Federal Debt Collection Procedures Act, 28 U.S.C. § 3001 et seq., and moving for

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 1   civil contempt for the violation of any Court orders issued in this action.
 2         Heckele shall pay post judgment interest on any amounts due after 30 days of
 3   the entry of this Final Judgment pursuant to 28 U.S.C. § 1961.
 4         The Commission shall hold the funds (collectively, the “Fund”) until further
 5   order of this Court. The SEC may shall propose a plan to distribute the Fund subject
 6   to the Court’s approval, and the Court shall retain jurisdiction over the administration
 7   of any distribution of the Fund.
 8         Such a plan may provide that the Fund shall be distributed pursuant to the Fair
 9   Fund provisions of Section 308(a) of the Sarbanes-Oxley Act of 2002. The Court
10   shall retain jurisdiction over the administration of any distribution of the Fund and the
11   Fund may only be disbursed pursuant to an Order of the Court.
12         Regardless of whether any such Fair Fund distribution is made, amounts
13   ordered to be paid as civil penalties pursuant to this Judgment shall be treated as
14   penalties paid to the government for all purposes, including all tax purposes. To
15   preserve the deterrent effect of the civil penalty, Heckele shall not, after offset or
16   reduction of any award of compensatory damages in any Related Investor Action
17   based on Defendant’s payment of disgorgement in this action, argue that he is entitled
18   to, nor shall he further benefit by, offset or reduction of such compensatory damages
19   award by the amount of any part of Defendant’s payment of a civil penalty in this
20   action (“Penalty Offset”). If a court in any Related Investor Action grants such a
21   Penalty Offset, Heckele, within 30 days after entry of a final order granting the
22   Penalty Offset, notify the Commission’s counsel in this action and pay the amount of
23   the Penalty Offset to the United States Treasury or to a Fair Fund, as the Commission
24   directs. Such a payment shall not be deemed an additional civil penalty and shall not
25   be deemed to change the amount of the civil penalty imposed in this Judgment. For
26   purposes of this paragraph, a “Related Investor Action” means a private damages
27   action brought against Heckele by or on behalf of one or more investors based on
28   substantially the same facts as alleged in the Complaint in this action.

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 1                                             VI.
 2         IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, solely for
 3   purposes of exceptions to discharge set forth in Section 523 of the Bankruptcy Code,
 4   11 U.S.C. § 523, the allegations in the complaint are true and admitted by Heckele,
 5   and further, any debt for disgorgement, prejudgment interest, civil penalty or other
 6   amounts due by Heckele under this Judgment or any other judgment, order, consent
 7   order, decree or settlement agreement entered in connection with this proceeding, is a
 8   debt for the violation by Heckele of the federal securities laws or any regulation or
 9   order issued under such laws, as set forth in Section 523(a)(19) of the Bankruptcy
10   Code, 11 U.S.C. §523(a)(19).
11                                             VII.
12         IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that this Court
13   shall retain jurisdiction of this matter for the purposes of enforcing the terms of this
14   Judgment.
15
16     Dated: June 29, 2022
17                                                    ________________________________
18                                                    MARK C. SCARSI
                                                      UNITED STATES DISTRICT JUDGE
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